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IN THE uNlTED sTATEs olsTRlcT couRT Foi£“t"`l?il§"‘ _
vasTERN oF TENNEssEE ¢. ..* _ ,;l_i_ A
WESTERN DrvlsioN 135 Jt_!l-l l tl,it`lt _t

UN|TED STATES OF AMER|CA, W;j§;] only v v l

  

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P|alhtiff

\/S. ,' Crir‘nlna| #03-20323
DURRELL MACKEY,

Defendant

 

l\/|OT|ON TO CONT|NUE THE SURRENDER DATE

 

'l`he Defendant Durrel| l\/lackey having been sentenced in the above case
to the custody of the Bureau of Prison and having been granted leave by court to
report to the designated facility Was ordered to surrender to the Bureau of Prison
by reporting to FCl l\/lemphis SCP, 1101 John A. Denie Roadl l\/lemphisr
Tennessee 38134 by 2 p.m. on Tuesday, l\/lay 31, 2005l

Defendant Durrell |‘\/lacl<ey humbly requests that this Order to surrender on
the above date be continued for an additional thirty (30) days to allow him to
finish making preparations for the change in management of his detailing
business and to allow him to finish the real estate closing on his home. Al| of the
above is designed to facilitate a smooth`transition for his fami|y`to continue in his '~
absence.

WHEREFORE, premises considered the Defendant Durre|| Mackey

moves this honorable Court to oont`hnnuall|qciéwe&d.gr£?&eri% e above matter
§ t"\-J~

LF-j/.

 
 
  

 

This document entered on the docket Sheet in compliance ERN§€_’_'.!F_ BOU!E DONALD
mm sue 55 ami/m ezib) mch en 22 ‘ u.s. instruct JuDeE

   

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for thirty (30) days to allow him to complete all of the aforementioned business
matters

Respectfully submitted,

DMLW,,

l-land .Durham, Jr.

Attor ey for Defendant Durrell |`\/lackey
100 N Nlain Bldg, Suite 2601
Memphis, TN 38103

Phone: (901) 543-0866

 

Certification of Service
l hereby certify that a copy of the foregoing lvlotion was duly forwarded to
the honorable Leonard E. Lucas, Assistant U.S. /1\ttorney1 167 N l\/lain Streetl
Suite 800l |\/lemphis, Tennessee 38103 this&lf_ day of May 2005.

    

Handel .
Attorn y for Defendant

??_ ‘

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 51 in
case 2:03-CR-20323 Was distributed by faX, mail, or direct printing on
June 2, 2005 to the parties listed.

 

 

Leslie I. Ballin

BALLIN BALLIN & FISHMAN
200 Jefferson Ave.

Ste. 1250

1\/lemphis7 TN 38103

Leonard E. Lucas

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Handel R. Durham
DURHAM & ASSOCIATES
100 North Main St.

Ste. 2601

1\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

